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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et                      §
 al.,                                                §
                                                     §
            Plaintiffs,                              §
                                                     §         Civil Action No. 5:21-CV-844 (XR)
 v.                                                  §                (Consolidated Cases)
                                                     §
     GREGORY W. ABBOTT, et al.,                      §
                                                     §
            Defendants.                              §



     STATE DEFENDANTS’ ANSWER TO UNITED STATES’ AMENDED COMPLAINT

         The State of Texas and Texas Secretary of State John Scott in his official capacity (collectively

“State Defendants”), file this original answer to the United States’ Amended Complaint (ECF 131).


                                               ANSWER

         State Defendants deny every allegation contained in the United States’ Amended Complaint

except for those expressly admitted. See Fed. R. Civ. P. 8(b). The headings and paragraphs below directly

correlate to the sections and numbered paragraphs of that complaint. Titles that are reproduced in this

Answer are included for organizational purposes only, and State Defendants do not admit any matter

contained therein.


1.       State Defendants admit that the Texas Legislature enacted SB1 in August 2021 but deny that

         the legislation unlawfully restricts eligible voters’ ability to cast a vote or to have that vote

         counted.

2.       State Defendants admit that the United States challenges provisions of SB1. Otherwise, denied.

3.       Denied.

4.       State Defendants deny all allegations in this paragraph.

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5.    State Defendants deny that SB1 requires voters to provide the same identification number that

      was provided when registering to vote rather than to provide information that identifies the

      same voter identified on the voter’s application for voter registration. State Defendants admit

      that Texas did not have universal mail-in voting before the passage of SB1. State Defendants

      deny all other remaining allegations in this paragraph.

6.    State Defendants admit that the United States Attorney General asserts this action has been

      filed pursuant to the statutory provisions listed. State Defendants deny that these causes of

      action are meritorious and deny that United States can meet its burden to demonstrate this

      Court’s jurisdiction over all claims and relief sought in this case.

7.    This Paragraph contains the United States’ characterizations of Section 208 of the Voting Rights

      Act. That statute speaks for itself. State Defendants deny the United States’ characterizations of

      that statute to the extent they are inconsistent with the statute itself.

8.    This Paragraph contains the United States’ characterizations of Section 101 of the Civil Rights

      Act of 1964. That statute speaks for itself. State Defendants deny the United States’

      characterizations of that statute to the extent they are inconsistent with the statute itself.


                                     JURISDICTION AND VENUE

9.    State Defendants deny that the United States’ causes of action are meritorious and deny that

      the United States can meet its burden to demonstrate this Court’s jurisdiction over all claims

      and relief sought in this case. They admit that the Court would have jurisdiction over a properly

      pleaded claim arising under the cited statutes.

10.   Admit.




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                                              PARTIES

11.   State Defendants deny that they are proper defendants in this case. They admit that the Attorney

      General of the United States would be authorized in some cases to file a civil action against a

      proper defendant.

12.   Admit.

13.   State Defendants deny that the Office of the Texas Secretary of State is solely responsible to

      implementing the provisions of SB1 challenged in this suit. State Defendants further deny that

      the Texas Secretary of State is not immune from suit in this case and that this Court possesses

      jurisdiction to reach the merits of this suit. Otherwise, admitted.


                                           ALLEGATIONS

THE STATE OF TEXAS

14.   This paragraph includes the United States’ characterization of court decisions. Those decisions

      speak for themselves, and State Defendants deny the United States’ sweeping characterizations

      of those opinions. State Defendants deny that any past voting-related discrimination can be

      imputed to the passage or implementation of SB1 or in any way tends to prove the United

      States’ claims in this case. State Defendants admit that federal courts have found portions of

      other Texas laws to be discriminatory, often under the standard imposed by Section 5 of the

      Voting Rights Act, which is neither relevant nor applicable to the legal dispute in this case.

      Otherwise, denied.

15.   Denied.

16.   Admitted.

17.   Admitted.

18.   Admitted.

19.   Admitted.
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20.    The United States does not include a citation to the source of this statistical information, and

       thus State Defendants lack the knowledge or information sufficient to form a belief about the

       allegations in this paragraph and, therefore, deny them.

21.    Admitted.

22.    State Defendants admit that nearly all Texas counties provide ballots in English and Spanish.

       Otherwise, denied.

23.    Admitted.

24.    Admitted.

Senate Bill 1

25.    Admitted.

26.    State Defendants admit that in 2020 voter turnout was nearly 67% of registered voters and thus

       the highest voter turnout percentage since the 1992 general election. State Defendants lack the

       knowledge or information necessary for form a belief about the remaining allegations in this

       paragraph and, therefore, deny them.

27.    State Defendants deny that the Office of the Attorney General of Texas is the sole source of

       prosecutions or convictions for election-related offenses in the State of Texas. State Defendants

       admit that the funding dedicated to the Election Integrity Division increased over the time

       period stated. State Defendants deny the United States’ characterizations that are contained in

       this paragraph. During the stated time period, the Office of the Attorney General obtained

       multiple guilty pleas that resulted in deferred adjudication as well as multiple admissions of guilt

       that were resolved in diversion programs, none of which were included in the allegations

       contained in this paragraph. Additionally, at least 16 individuals were prosecuted during the

       referenced time period, resulting in election related convictions.




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28.    State Defendants lack the knowledge or information sufficient to form a belief about the

       allegations in this paragraph and, therefore, deny them at this time.

29.    State Defendants admit that Governor Abbott declared election integrity as an emergency item

       for the regular session of the Eighty-Seventh Texas Legislature. Otherwise, denied.

30.    State Defendants admit that Senate Bill 7 and House Bill 6 were related to elections and were

       introduced in March 2021. This paragraph contains the United States’ characterization of the

       legislative history related to those bills, and State Defendants aver that this legislative history

       speaks for itself. State Defendants deny any other characterizations made by the United States

       in this paragraph.

31.    Admitted.

32.    State Defendants admit the first sentence contained in this paragraph. As to the paragraph’s

       second sentence, State Defendants are unclear what the term “midway” through the session

       references and aver that the legislative record speaks for itself, and therefore deny on that basis.

33.    Admitted.

34.    Admitted.

35.    State Defendants admit that SB1 went into effect on December 2, 2021, and that the legislation

       is currently in effect.

Voter Assistance in Texas Prior to SB1

36.    State Defendants deny that Texas law divides voter assistance into two categories or limits the

       assistance that may be made available to voters in order to comply with federal and state law.

       State Defendants admit that Texas law provides for voter assistance and language interpretation.

       This Paragraph contains the United States’ characterizations of Chapter 61, Subchapter B and

       Chapter 64, Subchapter B of the Texas Election Code. Those statutes speak for themselves.

       State Defendants deny the United States’ characterizations of those statutes to the extent they


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      are inconsistent with the statutes themselves. State Defendants deny all other remaining

      allegations in this paragraph.

37.   This Paragraph contains the United States’ characterizations of Texas Election Code Section

      64.0321. That statute speaks for itself. State Defendants deny the United States’

      characterizations of that statute to the extent they are inconsistent with the statute itself. State

      Defendants deny all other remaining allegations in this paragraph.

38.   Admitted.

39.   State Defendants deny that any materials issued by Disability Rights Texas were adopted or

      endorsed by the Office of the Texas Secretary of State. State Defendants admit that the Secretary

      of State’s website contained presentations from Disability Rights Texas and other private groups

      during the time range noted. State Defendants deny all other remaining allegations in this

      paragraph.

40.   State Defendants deny that any materials issued by Disability Rights Texas were adopted or

      endorsed by the Office of the Texas Secretary of State. State Defendants admit that the Secretary

      of State’s website contained presentations from Disability Rights Texas and other private

      groups. State Defendants deny all other remaining allegations in this paragraph.

Voter Assistance Requirements of SB1

41.   State Defendants admit that SB1 revised the language of the oath for voter assistance. State

      Defendants admit that the quoted text accurately reflects the language of Section 6.04 of SB1.

      That provision speaks for itself. Otherwise, denied.

42.   This Paragraph contains the United States’ characterizations of the oath for individuals

      providing voter assistance contained in SB1. The language of the oath speaks for itself and is

      contained in SB1. State Defendants deny the United States’ characterizations of the oath to the

      extent it is inconsistent with the language of the oath itself.


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43.   Denied.

44.   Denied.

45.   State Defendants admit that multiple witnesses testified regarding voter assistance. Otherwise,

      denied.

Mail Voting in Texas Prior to SB1

46.   This Paragraph contains the United States’ characterization of Section 11.002 of the Texas

      Election Code. That statute speaks for itself. State Defendants deny the United States’

      characterization of this statute to the extent that it is inconsistent with the statute itself.

47.   This Paragraph contains the United States’ characterizations of multiple provisions of the Texas

      Election Code. Those statutes speak for themselves. State Defendants deny the United States’

      characterizations of these statutes to the extent that they are inconsistent with the statutes

      themselves.

48.   State Defendants deny that Section 84.001 of the Texas Election Code was not amended by

      SB1. This Paragraph contains the United States’ characterization of Section 84.001. That statute

      speaks for itself. State Defendants deny the United States’ characterization of this statute to the

      extent that it is inconsistent with the statute itself

49.   State Defendants admit that SB1 did not amend Section 86.008 of the Texas Election Code.

      This Paragraph contains the United States’ characterization of Section 86.008. That statute

      speaks for itself. State Defendants deny the United States’ characterization of this statute to the

      extent that it is inconsistent with the statute itself.

50.   State Defendants admit that SB1 amended 84.002 of the Texas Election Code by adding

      subsection (a)(1-a). This Paragraph contains the United States’ characterization of Section

      84.002 prior to the passage of SB1. That statute speaks for itself. State Defendants deny the




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      United States’ characterization of this statute to the extent that it is inconsistent with the statute

      itself.

51.   This Paragraph contains the United States’ characterization of the Texas Election Code prior to

      the passage of SB1. Those statutes speak for themselves. State Defendants deny the United

      States’ characterizations of those statutes to the extent they are inconsistent with the statutes

      themselves. State Defendants deny all other remaining allegations in this paragraph.

52.   State Defendants admit that under the Texas Election Code, the Secretary of State assists and

      advises election authorities but deny that any such guidance is mandatory on this issue. State

      Defendants admit that the best practice for an early voting clerk that receives an application for

      ballot by mail containing a different last name from the name the voter registered under is not

      to reject the application if the clerk is able to confirm that the individual is a registered voter of

      the political subdivision. The early voting clerk should then advise the voter that the early voting

      ballot board may reject the ballot later when it reviews the name on the carrier envelope

      compared to the name on the list of registered voters, and thus the voter should update their

      information as to name so that the clerk can then process the application. State Defendants

      deny all other remaining allegations in this paragraph.

53.   Denied. State Defendants deny that guidance provided to election authorities by the Office of

      the Secretary of State is mandatory on this issue. State Defendants further deny that applications

      for ballot by mail could not be validly rejected for other deficiencies unrelated to the address

      information provided. The voter must still be otherwise qualified to vote by mail and the

      application must meet all other requirements in order to be processed.

54.   State Defendants admit that SB1 did not amend Section 84.014 of the Texas Election Code.

      State Defendants deny that SB1 did not amend Section 86.001 of the Texas Election Code. This

      Paragraph contains the United States’ characterizations of Sections 84.014 and 86.001. Those


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      statutes speak for themselves. State Defendants deny the United States’ characterizations of

      these statutes to the extent that they are inconsistent with the statutes themselves.

55.   State Defendants admit that SB1 did not amend Section 86.005 of the Texas Election Code.

      This Paragraph contains the United States’ characterization of Section 86.005. That statute

      speaks for itself. State Defendants deny the United States’ characterization of this statute to the

      extent that it is inconsistent with the statute itself.

56.   State Defendants deny that Section 86.011 of the Texas Election Code was not amended by

      SB1. Additionally, this Paragraph contains the United States’ characterization of Section 86.011.

      That statute speaks for itself. State Defendants deny the United States’ characterization of this

      statute to the extent that it is inconsistent with the statute itself.

57.   State Defendants deny that Sections 87.027 and 87.041(b) of the Texas Election Code were not

      amended by SB1. This Paragraph contains the United States’ characterizations of Sections

      87.027 and 87.041(b). Those statutes speak for themselves. State Defendants deny the United

      States’ characterizations of these statutes to the extent that they are inconsistent with the statutes

      themselves.

Mail Voting Requirements of SB1

58.   Admitted.

59.   This Paragraph contains the United States’ characterizations of Sections 84.002 and 86.002 of

      the Texas Election Code. Those statutes speak for themselves. State Defendants deny the

      United States’ characterizations of these statutes to the extent that they are inconsistent with

      the statutes themselves.

60.   This Paragraph contains the United States’ characterization of Section 86.001 of the Texas

      Election Code. That statute speaks for itself. State Defendants deny the United States’

      characterization of this statute to the extent that it is inconsistent with the statute itself.


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61.   This Paragraph contains the United States’ characterization of Section 87.041 of the Texas

      Election Code. That statute speaks for itself. State Defendants deny the United States’

      characterization of this statute to the extent that it is inconsistent with the statute itself.

62.   This Paragraph contains the United States’ characterizations of Sections 86.015, 87.0271, and

      87.0411 of the Texas Election Code. Those statutes speak for themselves. State Defendants

      deny the United States’ characterizations of these statutes to the extent that they are inconsistent

      with the statutes themselves

63.   Denied.

64.   State Defendants lack the knowledge or information sufficient to form a belief about the truth

      of the speculative allegations in this paragraph and, therefore, deny them.

65.   State Defendants lack the knowledge or information sufficient to form a belief about the truth

      of the speculative allegations in this paragraph and, therefore, deny them.


                                      FIRST CAUSE OF ACTION

66.   State Defendants incorporate their answers to the preceding paragraphs.

67.   Admitted.

68.   Denied.

69.   Denied.

70.   Denied.


                                     SECOND CAUSE OF ACTION

71.   State Defendants incorporate their answers to the preceding paragraphs.

72.   Admitted.

73.   Admitted.

74.   Denied.


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75.     Denied.

76.     Denied.


                                         PRAYER FOR RELIEF

State Defendants deny that the United States is entitled to any of the relief requested.


                   STATE DEFENDANTS’ AFFIRMATIVE AND OTHER DEFENSES

State Defendants assert the following affirmative and other defenses to which they may be entitled:

1.      The Court lacks subject-matter jurisdiction to consider all claims asserted in United States’

        Amended Complaint.

2.      The United States lacks standing to assert all claims asserted in its Amended Complaint.

3.      The United States has failed to plausibly state a claim upon which relief can be granted.

4.      State Defendants assert all applicable immunities to Plaintiff-Intervenors’ claims, including but

        not limited to their entitlement to Eleventh Amendment and sovereign immunity.

5.      State Defendants will be entitled to recover their attorney’s fees as the prevailing party under 42

        U.S.C. § 1988(b).

6.      State Defendants reserve the right to assert additional affirmative and other defenses as they

        may become apparent in the factual development of this case.


                                         PRAYER FOR RELIEF

1.      The United States’ claims be dismissed with prejudice;

2.      The United States take nothing by this action; and

3.      State Defendants recover all costs, including attorney’s fees, and such other and further relief

        to which they are entitled.




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Date: June 7, 2022                            Respectfully submitted.

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                                     CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been sent by
electronic notification through ECF by the United States District Court, Western District of Texas, San
Antonio Division, on June 7, 2022, to counsel of record.

                                              /s/ Patrick K. Sweeten
                                              PATRICK K. SWEETEN




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